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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                     Chapter 11

                                                               Case No. 20-33948 (MI)
    FIELDWOOD ENERGY LLC, et al.,
                                                               (Jointly Administered)
                                   Debtors. 1



                                       AFFIDAVIT OF SERVICE

        I, Seth Botos, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
the claims, noticing, and solicitation agent for the Debtors in the above-captioned chapter 11 cases.

         On February 11, 2021, at my direction and under my supervision, employees of Prime
Clerk caused the following documents to be served by the method set forth on the Master Service
List attached hereto as Exhibit A:

      •      Notice of Filing of (I) Replacement Exhibits to Choi Declaration and (II) Revised
             Proposed Order [Docket No. 872]

      •      Joint Stipulation and Order [Docket No. 873] (the “Joint Stipulation and Order”)

      •      Stipulation and Order Granting Limited Relief from the Automatic Stay on Derrick T.
             Daniels Personal Injury Litigation [Docket No. 874] (the “Derrick Daniels Stipulation”)

      •      Stipulation to Continue Hearing on Toys O'Neil's Motion for Relief from Automatic Stay
             [Docket No. 875] (the “Toys O’Neil Stipulation”)

       On February 11, 2021, at my direction and under my supervision, employees of Prime
Clerk caused the Joint Stipulation and Order to be served via first class mail and email on Andrew
Myers P.C., Attn: Edward L. Ripley, Lisa M. Norman, 1885 Saint James Place, 15th Floor, Houston
TX 77056, eripley@andrewmyers.com, lnorman@andrewsmyers.com.



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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       On February 11, 2021, at my direction and under my supervision, employees of Prime
Clerk caused the Derrick Daniels Stipulation to be served via first class mail and email on John A.
Mouton, III, 1200 Camelia Blvd., Suite 204, Lafayette, LA 70508, john@jmoutonlaw.com.

       On February 11, 2021, at my direction and under my supervision, employees of Prime
Clerk caused the Toys O’Neil Stipulation to be served via first class mail and email on Broussard
& David, LLC, Blake R. David, Bob Brahan, 557 Jefferson Street, Lafayette, LA 70502
Alfredo.Perez@weil.com,        Clifford.Carlson@weil.com,            Blake@broussard-david.com,
Robert@broussard-david.com.




Dated: February 16, 2021
                                                            /s/ Seth Botos
                                                            Seth Botos
State of New York
County of New York

Subscribed and sworn to (or affirmed) to me on February 16, 2021, by Seth Botos, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ KELSEY LYNNE GORDON
Notary Public, State of New York
No. 01GO6405463
Qualified in Kings County
Commission Expires March 9, 2024




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                                                                                         SRF 50949
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                                                                                                                                             Exhibit A
                                                                                                                                          Master Service List
                                                                                                                                       Served as set forth below



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                                                                                                                                              Exhibit A
                                                                                                                                           Master Service List
                                                                                                                                        Served as set forth below



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                                                                                                                                                Exhibit A
                                                                                                                                             Master Service List
                                                                                                                                          Served as set forth below



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                                                                                                                                         Exhibit A
                                                                                                                                      Master Service List
                                                                                                                                   Served as set forth below



                                                    DESCRIPTION                                            NAME                                                            ADDRESS                                           EMAIL                METHOD OF SERVICE
                                                                                                                                  CENTRALIZED INSOLVENCY OPERATION
                                                                                                                                  2970 MARKET ST.
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                                                                                                                                           Master Service List
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